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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                   4:11CR3087
                      Plaintiff,

       vs.
                                                                     ORDER
GUY ALLEN,

                      Defendant.


       This matter comes on before the Court upon the United States= Motion to Dismiss

Forfeiture Allegation (Filing No. 307). The Court reviews the record in this case and, being duly

advised in the premises, finds the United States= Motion should be sustained.

       IT IS THEREFORE ORDERED as follows:

       1. The United States= Motion to Dismiss Forfeiture Allegation is hereby sustained.

       2. The Forfeiture Allegation of the Indictment is hereby dismissed.

       Dated this 9th day of March, 2015.

                                                    BY THE COURT:

                                                    s/ Richard G. Kopf
                                                    Senior United States District Judge
